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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




    UNITED STATES OF AMERICA

    v.                                        Crim. Action No. 23CR229

    TAYLOR TARANTO,

                      Defendant.




          TAYLOR TARANTO’S MOTION FOR TRANSFER OF VENUE


         Taylor Taranto, through undersigned counsel, and pursuant to Federal Rule of

Criminal Procedure 21(a), hereby respectfully requests that this Court transfer the

proceedings to another district based on credible findings that he will not be able to

receive a fair trial in the District of Columbia. 1 See Exhibits 1-2, Jury Surveys. 2


                                     ARGUMENT

         Both the Fifth and Sixth Amendments secure the right to trial by an impartial

jury. Const. amends. V, VI; see also Skilling v. United States, 561 U.S. 358, 378 (2010).

The importance of an impartial jury is fundamental to Due Process and,



1
  Mr. Taranto understands that a trial court’s denial of a similar request was upheld
by the D.C. Circuit in United States v. Webster, 2024 WL 2712697 (D.C. Cir. 2024),
Mr. Taranto’s request is made months after the court considered the request in
United States v. Webster. Moreover, the U.S. Supreme Court has not considered this
issue. Mr. Taranto files the instant Motion to preserve his record.
2
  The jury surveys attached were conducted by an expert retained by the Office of
the Federal Public Defender.
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notwithstanding constitutional venue prescriptions, when prejudice makes it such

that a defendant cannot obtain a fair and impartial trial in the indicting district, the

district court must transfer the proceedings upon the defendant’s motion. Fed. R.

Crim. P. 21(a); see also Skilling, 561 U.S. at 378.


      In some instances, the hostility of the venue community is so severe that it

gives rise to a presumption of juror prejudice. See Patton v. Yount, 467 U.S. 1025,

1031 (1984) (distinguishing between presumed venire bias and actual juror bias). As

recently as 2010, the Supreme Court reaffirmed the presumption approach

articulated in Patton and identified three factors to guide the lower courts in

determining whether a presumption should attach: (1) the size and characteristics of

the jury pool; (2) the type of information included in the media coverage; and (3) the

time period between the arrest and trial, as it relates to the attenuation of the media

coverage. 3 Skilling, 561 U.S. at 378.


      Where it attaches, the Court has further recognized that the presumption of

prejudice overrides juror declarations of impartiality during voir dire because such

attestations may be insufficient to protect a defendant’s rights in particularly charged

cases. Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even these indicia of impartiality

might be disregarded in a case where the general atmosphere in the community or



3Though not relevant to the instant motion, the Court identified a fourth factor for
consideration upon appellate review, following trial in the contested venue: (4)
whether the jury convicted the defendant on all counts or only on a subset of counts.
The lack of uniformity in result after denial of a motion to transfer venue, the Court
observed, indicates that the jury was impartial and capable of rendering a verdict on
only the facts presented, rather than preconceived notions of guilt.
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courtroom is sufficiently inflammatory.”); see also Irvin v. Dowd, 366 U.S. 717, 728

(1961) (“No doubt each juror was sincere when he said that he would be fair and

impartial to petitioner, but psychological impact requiring such a declaration before

one’s fellows is often its father.”). Indeed, on appeal of a denial of a motion for change

of venue, an appellate court need not even examine the voir dire record if it finds that

the presumption attached. Rideau v. Louisiana, 373 U.S. 723, 726-27 (1963) (“But we

do not hesitate to hold, without pausing to examine a particularized transcript of the

voir dire examination of the members of the jury, that due process of law in this case

required a [transfer].”). Thus, under this precedent, voir dire is simply not a cure for

significant and substantiated Due Process concerns about the jury pool.


      Each of those concerns is pressing in this case.


      A. The size and characteristics of the District of Columbia jury pool
         weigh in favor of finding a presumption of prejudice.

      The foundation for the presumption of prejudice is found in Rideau. 373 U.S.

at 727. In Rideau, the first factor that the Court weighed in favor of a finding of

prejudice was that about half of the small jury pool had been exposed to prejudicial

media reporting about the case. See id. Despite the fact that voir dire revealed that

only three jurors had actually seen the broadcasts at issue, the Court found that the

share of the pool that was tainted was significant enough as to render the defendant

presumptively prejudiced. See id.


      Because measuring the reach and impact of negative media reporting is

difficult, in applying Rideau, many courts have focused on population size and

                                            3
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diversity as a proxy for the share of the population that was likely impacted. For

example, in Skilling, the Court observed that while the number of Enron victims in

Houston was higher than that of other crimes, it was far from universal, and because

Houston is the fourth-largest city in the United States, and is highly diverse, a

significant number of prospective jurors would have had no connection to Enron

whatsoever. Skilling, 561 U.S. at 358 (“[E]xtensive screening questionnaire and

followup [sic] voir dire yielded jurors whose links to Enron were either nonexistent or

attenuated.”).


       In contrast to Houston, the District of Columbia is one of the smaller major US

cities, with a population under 700,000. 4 And the impact of the events of January 6

on the residents of the District of Columbia were far more widespread than that of

Enron in Houston, affecting a far greater share of residents than the conduct at issue

in Skilling.


       First, as the Court is no doubt aware, a substantial proportion of District of

Columbia residents either work for the federal government themselves or have

friends or family who do. Specifically, as of September 2017, the U.S. Office of

Personnel Management reported that there are 600,000 federal civil workers and

annuitants in the greater DC area (excluding postal workers, federal bureau of




4   District of Columbia Population – April 1, 2020, U.S. Census                    Bureau,
https://www.census.gov/quickfacts/fact/table/washingtoncitydistrictofcolumbia,US.
                                            4
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investigation workers, and staff on several federal commissions). 5 Nearly 200,000 of

those workers and annuitants are within the District itself. Id. With a total

population of around 690,000, it seems clear that any given member of the District

jury pool has a greater likelihood of being closely connected to the federal government

than those in comparable metro areas. In fact, as of 2019, according to the DC Policy

Center, active federal employment (including postal workers) accounts for nearly a

third of all jobs in the District itself. 6 And of course, for each federal worker, there

are many friends and family members who are closely connected to the federal

government by proxy.


      In particular, nearly 15,000 individuals work for Congress directly, and many

more residents have friends and family who do. 7 Another large share are in, or have

friends and family in, the many law enforcement groups who took part in responding

to January 6. 8 This means that an enormous share of District of Columbia residents


5 Federal Civilian Employment, OPM (Sept. 2017), https://www.opm.gov/policy-data-

oversight/data-analysis-documentation/federal-employment-reports/reports-
publications/federal-civilian-employment/.
6Trends in Federal Employment in DC, DC Policy Center (Mar. 28, 2019),

https://www.dcpolicycenter.org/wp-content/uploads/3019/03/Fed-jobs-role-in-DC-
economy.png.
7Vital Statistics on Congress, Brookings Institute (July 11, 2013),

https://www.brookings.edu/wp-content/uploads/2016/06/Vital-Statistics-Chapter-5-
Congressional-Staff-and-Operating-Expenses_UPDATE.pdf.
8 As reported in the Human Capital Strategic Plan, as of early 2021, 2,250

individuals were employed by the U.S. Capitol Police Force. Human Capital
Strategic Plan 2021-2025,U.S.Capitol Police (2020),
https://www.uscp.gov/sites/uscapitolpolice.house.gov/files/wysiwyg_uploaded/USCP
%20Human%20Capital%20Strategic%20Plan%20for%202021-2025.pdf. 4,400
individuals are employed by the Metropolitan Police Force, and 2,700 individuals
are active members of the D.C. National Guard. See Metropolitan Police Force
Annual Report 2020, DC.gov (2020),
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have significant and unique connections with individuals or institutions that were

affected by January 6. Such connections are not likely to be present in any other

comparable district. The government has characterized the events of January 6 –

including the attempted obstruction in which the government alleges Mr. Taranto

participated – as an attack on our elections, government institutions generally, and

democracy as a whole, suggest that those District residents closely connected to the

government are more likely to view themselves as the direct victims of the events.


        Second, even District residents that have no direct connection to the

government reported feeling deeply traumatized by the events that took place so close

to where they live and work. For example, one DC resident shared in an interview

that:


             I have not been able to digest any of the atrocities that took
             place last night here in Washington, D.C., you know,
             literally eight blocks away from my front door[.] I’ve been
             having a lot of conversations with people this morning,
             loved ones. We’re all hurting. We’re terrified. We’re in

https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/AR202
0_lowres_a.pdf ; see also About Us, DC National Guard (2020),
https://dc.ng.mil/About-Us/. More than 140 officers were allegedly injured from the
events of January 6. See Michael Schmidt, Officers’ Injuries, Including Concussions,
Show Scope of Violence at Capitol Riot, N.Y. Times (July 12, 2021),
https://www.nytimes.com/2021/02/11/us/politics/capitol-riot-police-officer-
injuries.html. And while not all individuals employed by these agencies reported to
the Capitol on January 6, all 9,350 individuals were directly and adversely affected
by the January 6 events in the form of increased presence and overtime demands in
the weeks that followed, greatly affecting morale. Indeed, as reported by local
media, more than 75 officers left the Capitol Police force in the few months
following January 6. More Than 75 Capitol Police Officers Have Quit Amid Low
Morale Since Jan. 6, The Hill (July 7, 2021), https://thehill.com/policy/national-
security/561832-more-than-75-capitol-police-officers-have-quit-amid-low-morale-
since.
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             shock. And I think it's going to take a while. This is by far
             the darkest moment of my 45-year existence. 9

Such accounts are typical of those gathered in interviews in the days following

January 6, during which the Mayor declared a state of emergency, implemented a

city-wide curfew, restricted access to particular roads and bridges, and requested that

residents not attend inauguration. 10 District neighborhoods became occupied by the

Metropolitan Police and over 25,000 military personnel in the weeks that followed. 11

Indeed, a local subsidiary of the national public broadcasting network, DCist,

reported that:


             Residents have rescheduled medical appointments or
             switched up their bike and run routes to steer clear of
             downtown D.C. or the Capitol complex. Others say they are
             avoiding speaking Spanish in public or buying items like
             baseball bats for personal protection. Some are making
             plans to leave the city for inauguration. And many have
             feelings of anger, sadness, and heightened anticipation for
             the near future. […] Some residents are also worried that




9  D.C. Resident Who Gave BLM Protesters Refuge Condemns 'Atrocities' at U.S.
Capitol, CBC (Jan. 7, 2021), https://www.cbc.ca/radio/asithappens/as-it-happens-
thursday-edition-1.5864816/d-c-resident-who-gave-blm-protesters-refuge-condemns-
atrocities-at-u-s-capitol-1.5864894.
10 Mayor Bowser Orders Citywide Curfew Beginning at 6PM Today, DC.gov (Jan. 6,

2021), https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning-
6pm-today;Mayor Bowser Issues Mayor’s Order Extending Today’s Public Emergency
for 15 Days, DC.gov (Jan 6, 2021), https://mayor.dc.gov/release/mayor-bowser-issues-
mayor%E2%80%99s-order-extending-today%E2%80%99s-public-emergency-15-
days-a1; Jane Recker, DC Mayor Says Americans Should Not Come to Washington
for the Inauguration, Washingtonian (Jan. 11, 2021) (noting the many street
closures),https://www.washingtonian.com/2021/01/11/dc-mayor-says-americans-
should-not-come-to-washington-for-the-inauguration/.
11 Ellen Mitchell, Army: Up to 25,000 National Guard in DC for Biden Inauguration,

The Hill (Jan. 15, 2021),https://thehill.com/policy/defense/534497-army-up-to-25000-
national-guard-in-dc-for-biden-inauguration.
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             a stepped up military and police presence in the city may
             only add to their unease. 12
      Moreover, as the Court is no doubt aware, the effects of these events continue

to be felt in the District. Indeed, District residents reacted with fear in anticipation

of protests planned for September of 2021 that were intended to show support for

individuals detained in connection with prosecutions arising from the events of

January 6. For example, the New York Times ran a piece titled “Washington, D.C. On

Edge Over January 6 Protests,” 13 and the Associated Press similarly reported “In

Edgy Washington, Police Outnumber Jan 6 Protestors,” capturing the District’s

overall tenor and response to these ongoing demonstrations. 14          This fear and

anticipation undoubtedly remains in the present day as a new election is on the

horizon in just seven months from now.


      Third, an overwhelming number of District of Columbia residents — over 92

percent — voted for President Biden. 15 According to the government’s theory of the

case, Mr. Taranto and the others charged in connection with January 6 did what they

did in order to prevent Joseph Biden from becoming President notwithstanding his




12 Jenny Gathright and Rachel Kurzius, What It Feels Like to Live Under D.C.’s State

of Emergency, DCist (Jan. 13, 2021), https://dcist.com/story/21/01/13/dc-state-of-
emergency-residents/.
13 Jonathan Weisman and Matthew Rosenberg, Washington, D.C., on Edge Over

Protest of Jan. 6 Arrests, N.Y. Times (Sept. 18, 2021),
https://www.nytimes.com/2021/09/18/us/politics/capitol-sept-18-rally.html.
14 Associated Press, In Edgy Washington, Police Outnumber Jan. 6 Protesters, US

News (Sept. 18, 2021),https://www.usnews.com/news/politics/articles/2021-09-
18/police-say-theyre-ready-for-rally-supporting-jan-6-rioters.
15 General Election 2020: Certified Results, DC Board of Elections (Dec. 2, 2020),

https://electionresults.dcboe.org/election_results/2020-General-Election.
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share of the electoral and popular vote. 16 That is, the government’s theory is that Mr.

Taranto and others were seeking to nullify the votes of an overwhelming majority of

District residents 17 – in the only national election in which District residents have

any say, given their lack of representation in Congress. See, e.g., Castanon v. United

States, 444 F. Supp. 3d 118, 139 (D.D.C. 2020) (“Article I contemplates that only

‘residents of actual states’ have and may exercise the House franchise”) (citing Adams

v. Clinton, 90 F. Supp. 2d 35, 47 (D.D.C.), aff’d sub nom. Alexander v. Mineta, 531

U.S. 940 (2000)), reconsideration denied, No. CV 18-2545, 2020 WL 5569943 (D.D.C.

Sept. 16, 2020), aff’d, No. 20-1279, 2021 WL 4507556 (U.S. Oct. 4, 2021). Finally, the

government, the media, and even judges in this division speak of these prosecutions

as designed to prevent “another January 6,” and District of Columbia residents know

that a repeat of January 6 can only take place in their home. 18 As such, the residents

of the District sitting as jurors are highly likely to view Mr. Taranto not only as




16 See, e.g., Gov’t Mem., ECF No. 19 at 13 (characterizing the events as an attempt to

occupy the Capitol in order to prevent the certification of the Electoral College
results).
17 See id.
18 See, e.g., Zachary B. Wolf, These Republicans Are Worried About Trump's

Attempted Coup 2.0, CNN (Nov. 5, 2021)
https://www.cnn.com/2021/11/05/politics/january-6-insurrection-trump-
documentary-what-matters/index.html; see also Jordan Fischer et. al, Judge
Skewers DOJ At January 6 Sentencing, WUSA9 (Oct. 28, 2021) (explaining that the
sentence was designed to alert “others who might consider attacking the Capitol
to know their punishment would ‘hurt.’”),
https://www.wusa9.com/article/news/national/capitol-riots/resolving-the-crime-of-
the-century-with-misdemeanors-judge-skewers-doj-at-january-6-sentencing-beryl-
howell-jack-griffith-anna-morgan-lloyd/65-352274e8-7279-4792-a878-cf4cb0cc20ae.
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someone who victimized them, but also as someone who might victimize them again

in the future, raising a concern about punishing for propensity.


      Given the electoral makeup of the District, it would be impossible to empanel

a jury that was not full of people that the government charges were the targets of Mr.

Chilcoat’s alleged offenses. Cf. Mu’Min v. Virginia, 500 U.S. 415, 429 (1991) (the

population of the greater metro area, including Virginia and Maryland, was large

enough to not support an inference of prejudice by media reporting). Thus, though

significantly more populous than the pool in Rideau, for example, Mr. Taranto

submits that the impact of the events of January 6 was felt by a far greater proportion

of the residents and felt much more personally and viscerally. The events of January

left those residents—and therefore the jury pool—neither impartial nor indifferent.


      B. The nature and volume of national and local media coverage weigh
         in favor of finding that there is a presumption of prejudice because
         of greater saturation and impact at the local level.

      Where pervasive pretrial publicity has “inflamed passions in the host

community” and “permeat[es] the trial setting . . . [such] that a defendant cannot

possibly receive an impartial trial,” the district court must presume local prejudice

and transfer the proceeding. United States v. Quiles-Olivo, 684 F.3d 177, 182 (1st Cir.

2012); see also Sheppard v. Maxwell, 384 U.S. 333, 362 (1966) (“Due [P]rocess requires

that the accused receive a trial by an impartial jury free from outside influences.”).

This is especially true where publicity is both extensive and sensational in nature.

Quiles-Olivo, 684 F.3d at 182. That said, observing that “prominence does not

necessarily produce prejudice, and juror impartiality does not require ignorance,” the

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Supreme Court has repeatedly rejected claims of prejudice that rely exclusively on

negative but dispassionate media reporting. Skilling, 561 U.S. at 358 (citing Irvin,

366 U.S. at 722). Something more, such as charged rhetoric or the reporting of

gruesome details, is needed to establish prejudice. See id. (rejecting the argument

that media coverage was prejudicial where “media coverage, on the whole, had been

objective and unemotional, and the facts of the case were neither heinous nor

sensational.”). The Court has repeatedly recognized that “something more” exists

when the media coverage is particularly inflammatory, and where it pervades the

court proceedings. See Murphy, 421 U.S. at 799 (1975) (“In those cases the influence

of the news media, either in the community at large or in the courtroom itself,

pervaded the proceedings”); see also id. (“[P]roceedings in these cases were entirely

lacking in the solemnity and sobriety to which a defendant is entitled”). Finally, the

problematic media must either be local in distribution, or must have greater local

saturation or impact than in other districts; otherwise, there is no disparate

prejudicial effect between different (comparable) venues.


      For example, in Skilling, the defendant cited to hundreds of media reports

about the Enron scandal in his motion for a transfer of venue. 561 U.S. at 358. He

argued that as the former Chief Executive Officer, such articles necessarily

implicated him by proxy, if not directly. See id. The Court disagreed, referencing its

earlier opinions concerning the modern ubiquity of news media, and reiterating its

former conclusion that volume does not, on its own, create prejudice. See id. at 382.

Rather, it is sensationalism of the type that would be easily remembered—not an


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objective reporting of the facts—that was found to be prejudicial in prior cases before

the Court. 19 Id. at 381. The Court observed that the stories that Skilling cited about

Enron contained “no confessions, no blatantly prejudicial information,” and were

“largely objective and unemotional.” Id. at 370-71, 382 (observing that none of the

reports “invited prejudgment of his culpability”). As such, the Court held that it was

inappropriate to apply a broad presumption of prejudice.


      Here, in a city still feeling the impacts described supra, the pre-trial publicity—

both national and local–has only served to enhance and sustain the effects and by

extension, sentiments about the participants. The volume, depth of coverage, and

duration of the reporting about January 6 has been almost entirely unprecedented,

perhaps only comparable to the reporting following September 11. 20 And viewers who

identified as Democrats—like most of the District population—were 20% more likely

to have reported hearing “a lot” about the events than those who identify as

Republicans. 21 It has also been sensational, including the repeated showing of select

snippets of photographic and video footage appearing to show the destruction of the

Capitol property and officers in distress. Indeed, some of these officers have testified


19 Of course, as the concurrence in part pointed out, voir dire later revealed that these

“objective” media reports had indeed created a bias among many potential jurors, and
that the District Court failed to properly vet their assurances of impartiality after
those biases were revealed. See id. at 427 (Sotomayor, J., concurring in part).
20 “Nearly seven-in-ten adults (69%) say they have heard ‘a lot’ about the rioting at

the U.S. Capitol on Jan. 6.” Views on the Rioting at the US Capitol, Pew Research
Center (Jan. 15, 2021), https://www.pewresearch.org/politics/2021/01/15/views-on-
the-rioting-at-the-u-s-capitol/ ; compare with The War On Terrorism, Pew Research
Center (May 23, 2002), https://www.pewresearch.org/journalism/2002/05/23/the-
war-on-terrorism/.
21 See id.


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before Congress about their experiences that may or may not have been

representative of the whole—testimony that was also widely circulated in print and

through video. 22


      The language used in media coverage of the events of January 6 and of the

defendants involved in those events has been especially charged and inflammatory.

Reporters and their interviewees, including members of Congress, consistently refer

to the defendants as “insurrectionists,” “rioters,” “seditionists,” “domestic terrorists”

“white supremacists” and “criminals” in the media. 23 For example, in late January,

President Biden referred to those involved in the January 6 events as “a group of

thugs, insurrectionists, political extremists, and white supremacists.” 24 Similarly,

representative Cori Bush called the January 6 incident “a white supremacist

insurrection” and a “domestic terror attack.” 25 The coverage of the scene itself has

also been sensationalist, relying on gruesome details in click-bait headlines to

galvanize the public. For example, a recent video released on CNN began:


             Hours after the last rioters had been pushed from the
             Capitol, when there was still glass on the stairs and blood


22 See, e.g., Police Officers Deliver Emotional Testimony About Violent Day at the

Capitol, Washington Post (July 27, 2021),
https://www.washingtonpost.com/politics/2021/07/27/jan-6-commission-hearing-live-
updates/.
23 See Ex. 1 (subset of media coverage in summary form).
24 Remarks by President Biden at Signing of an Executive Order on Racial Equity,

The White House (2021), https://www.whitehouse.gov/briefing-room/speeches-
remarks/2021/01/26/remarks-by-president-biden-at-signing-of-anexecutive-order-on-
racial-equity/.
25 Rep. Cori Bush Calls Trump ‘White Supremacist-in-Chief', NBC4 Washington (Jan.

13, 2021), https://www.nbcwashington.com/news/national-international/rep-cori-
bush-calls-trump-white-supremacist-in-chief/2540892/.
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                on the floors, Congress tried to get back to the business of
                democracy . . . 26



         Furthermore, the testimony nationally broadcasted from the House of

Representatives Select Committee chosen to investigate January 6, 2021, further

highlights the inflammatory and conclusory nature of statements made by our

nation’s leaders. In the recent June 9, 2022 hearing of the Select Committee

investigating the events of January 6th, Chairman Bennie Thompson started his

opening statement with the following:


         I’m from a part of the country where people justify the actions of slavery, the
         Klu Klux Klan, and lynching. I’m reminded of that dark history as I hear
         voices today try and justify the actions of the insurrectionists on January 6th,
         2021. 27

This is hardly comparable to the “unemotional” reporting on Enron’s collapse and the

white collar crime allegations against its management as described by the Court in

Skilling. 561 U.S. at 371-72, 382. Some courts who have denied similar motions to

transfer venue in this district have doubted whether the media coverage has

specifically biased the DC community or whether it has been just general national

coverage. However, DC community leaders have specifically commented on the topic

on a consistent basis – also adding to the inflammatory and conclusory language




26 Wolf, supra note 16 (emphasis added).


27
     https://www.npr.org/2022/06/10/1104156949/jan-6-committee-hearing-transcript


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regarding all January 6 defendants. See below for a summary of some of these

statements clearly affecting specifically the DC community:


       (1) Derrick Johnson, President and CEO of the NAACP in USA today
           on January 6, 2022:

          White supremacy invaded our Capitol on Jan. 6. It continued to invade our
          lives through every television news and social media feed that replayed
          horrifying clips of insurrectionists flooding the halls of democracy. Now,
          white supremacy is brazenly re-invading our constitutional right to vote. 28

       (2) The Washington Commanders head coach, Ron Rivera,
           commenting after fining Defensive Coach Jack Del Rio for
           comments related to January 6, 2021.

          “[Coach Del Rio’s] comments do not reflect the organization’s views and are
          extremely hurtful to our great community in the DMV. As we saw last night
          in the [Congressional] hearings, what happened on the Capitol on Jan. 6,
          2021, was an act of domestic terrorism. A group of citizens attempted to
          overturn the results of a free and fair election, and as a result, lives were
          lost and the Capitol building was damaged. Coach Del Rio did apologize for
          comments on Wednesday and he understands the distinctions between the
          events of that dark day and peaceful protests which are a hallmark of our
          democracy. He does have the right to voice his opinion as a citizen of the
          United States and it most certainly is his constitutional right to do so.
          However, words have consequences and his words hurt a lot of people in our
          community. I want to make clear that our organization will not tolerate
          any equivalency between those who demanded justice in the wake of George
          Floyd’s murder and the actions of those on January 6 who sought to topple
          our government. 29” (emphasis added)

       (3) Statements by District of Columbia Mayor Muriel Bowser at the
           Congressional Black Caucus hearing on January 13, 2021:

          Thank you for holding this hearing on the acts of domestic terrorism and
          sedition that unfolded in our Nation’s Capitol just one week ago…..I’m

28 https://www.usatoday.com/story/opinion/2022/01/06/naacp-white-supremacy-

january-6/9092954002/

29 https://www.si.com/nfl/2022/06/10/commanders-announce-fine-jack-del-rio-ron-rivera-

january-6-comments


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           calling on the Joint Terrorism Task Force to investigate, arrest and
           prosecute any individual who entered the capitol, destroyed property, or
           incited the acts of domestic terrorism last week. I urge the Congress to
           create a non-partisan commission to understand the catastrophic security
           failures and both to hold people accountable and ensure that it never
           happens again. It is not lost on me, as we heard in president’s comments
           who stoked the flames of this extremism and on January 6th encouraged the
           acts of terrorism and sedition that we saw, that resulted in the deaths of
           two United States Capitol Police Officers and Four Others. As you have
           heard today, the members of the Congressional Black Caucus know better
           than most there is inextricable tie between those, and the speech and
           actions undeniable. This is not the end, this is the beginning of us needing
           as a country to be focused on radicalization of mostly white men who we
           saw in the Capitol that Day… 30

       (4) Statements of DC Delegate Eleanor Holmes Norton


           One year ago today, we witnessed an outrageous assault on our U.S.
           Capitol as Congress was meeting to count the electoral votes from the
           2020 presidential election. The attack was not only an attack on
           democracy; it was also an attack on the District of Columbia. The D.C.
           police department, which is paid for by D.C. residents, who are denied
           voting representation in the House and Senate and full self-government,
           moved voluntarily to save the lives of members of Congress and
           congressional staff, the Capitol and democracy itself. Yet House
           Republicans thanked D.C. by voting against the D.C. statehood bill only a
           few months after the attack. 31

       (5) Statements from Local Senators and Representatives

           Democratic Senator Tim Kaine stated:

            “One year ago, on January 6, 2021, a violent mob attempted to overturn
           the presidential election results and rob the American people of their duly
           elected leaders. Urged on by President Trump, right-wing insurrectionists
           stormed the U.S. Capitol aiming to commit the greatest voter
           disenfranchisement effort in recent American history. The insurrection led



30
   https://www.c-span.org/video/?507965-1/congressional-black-caucus-hearing-us-capitol-
attack
31
   https://rollcall.com/2021/12/14/d-c-files-lawsuit-against-two-groups-for-costs-of-jan-6-
response/
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         to the tragic loss of multiple heroic law enforcement officers from Virginia,
         and my heart is with their loved ones on this anniversary. 32

         A public statement from Democratic Senator John Warner
         provides, in part:

         “One year ago today, the world watched as a violent mob stormed and
         desecrated the U.S. Capitol in an effort to rob the American people of the
         sacred right to elect their President. Despite these insidious efforts,
         democracy prevailed due to the brave actions of the Capitol Police,
         Metropolitan Police, Virginia State Police, Maryland State Police, and
         members of the National Guard who put themselves in peril, saving many
         lives and in some cases, losing their own. It is my hope that we will
         continue to honor those who lost their lives by remembering that
         democracy must be upheld each and every day. We must realize that what
         happened on January 6 did not end on January 6. Efforts to sow doubts
         about the integrity of our elections are chipping away at the values upon
         which our nation was founded. As state legislatures across the country
         continue to exploit Donald Trump’s Big Lie to restrict access to the ballot,
         we must act to protect the right to vote and safeguard our democracy once
         more. 33”

      A public statement from Democrat Maryland Senator Ben Cardin
      provides, in part:
      Men and women died on that day and shortly after because of what happened
      at the U.S. Capitol. Police officers were brutally attacked. A mob went
      hunting through the hallways for Vice President Mike Pence, Speaker Nancy
      Pelosi and others. If we do not understand what happened leading up to and
      on that day, and why it happened, it will happen again. 34
      A public statement from Democrat Maryland Senator Chris Van
      Hollen provides, in part:
      “The violent mob unleashed by Donald Trump a year ago stormed and sacked
      this Capitol. Insurrectionists scaled the ramparts, tore through the
      barricades, and breached this building. They used flagpoles to beat Officer


32
  https://www.kaine.senate.gov/press-releases/kaine-statement-ahead-of-january-6-
anniversary

33 https://www.warner.senate.gov/public/index.cfm/pressreleases?id=B4F94BD9-

0BA5-48B6-9AF3-D5D0698197CB

34 https://www.cardin.senate.gov/letters/not-pretty-but-important/


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      Michael Fanone and used chemical spray to assault Officer Brian Sicknick –
      who tragically died the next day. A gallows was built outside of this Capitol
      while rioters chanted, “Hang Mike Pence.” Like many others, I recall
      watching horrifying television footage of a rioter pulling down an American
      flag and raising up a Trump flag in its place. Confederate flags and banners
      of far-right extremist groups were paraded through these halls. This citadel
      of our democracy was violently attacked. The Capitol Hill community was
      traumatized and so was the country. 35
      Public statement of Democrat Representative Don Beyer
      Representing Closest Virginia District to DC, provides, in part:
      “One year ago today insurrectionists launched a violent assault on the home of
      American democracy.

      “The crowd that attacked the Capitol included white supremacists and
      violent rightwing paramilitary groups. They constructed a gallows, and called
      for the assassination of the Vice President and the Speaker of the House.
      Incited by the Big Lie of a lawless President bent on retaining power at any
      cost – a fact we know is true because the insurrectionists themselves
      repeatedly confirmed it – they hoped to halt the peaceful transfer of power
      and overturn the results of an American election. They failed.

      “They failed because of the courageous actions of heroes in uniform, many of
      whom have not fully recovered from the significant injuries they suffered that
      day. Some of them lost their lives. Today we remember the pain and suffering
      inflicted on those who defended the Capitol, and their incredible heroism. We
      remember USCP Officers Brian Sicknick and Howie Liebengood and MPD
      Officers Jeffrey Smith, Kyle DeFreytag, and Gunther Hashida, and the
      anguish their families still feel. 36

      These public statements were said by local leaders whose audience is the DC

community. It is no surprise, then, that the jury survey conducted showed 90% of

potential jurors polled were exposed to media coverage and that most of them say the

media coverage implied that the defendants are “guilty of the charges brought against



35
    https://www.vanhollen.senate.gov/news/press-releases/van-hollen-delivers-floor-
speech-on-anniversary-of-january-6th-insurrection

36 https://beyer.house.gov/news/documentsingle.aspx?DocumentID=5417



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them.” See Exhibit 1, Jury Survey at pg. 3. Seventy-two percent of the respondents

said that they are likely to find the defendants guilty, even when given the choice if

“it is too early to decide.” Id. Most notably, it appears as though the overwhelming

majority of D.C. respondents have already concluded that those who entered the

Capitol were acting with the intent that the very intent that the government must

prove at trial. Respondents overwhelmingly concluded that January 6 defendants

were:


           •   Trying to overturn the election and keep Donald Trump in power (85%)

           •   Insurrectionists (76%) and/or

           •   Trying to overthrow the United States government (72%)

        Id. at 15, 18. Additionally, much of the early reporting has since been shown

to be factually inaccurate. For example, immediately following the events of January

6, President Biden, among other high-profile individuals, claimed that January 6

protestors killed Officer Brian Sicknick, and he repeated the claim months after it

became clear that there was no basis for it. 37 Even the official press release stated

that:


               Officer Brian D. Sicknick passed away due to injuries
               sustained while on-duty. Officer Sicknick was responding
               to the riots on Wednesday, January 6, 2021, at the U.S.




37 Christian Datoc and Jerry Dunleavy, Biden Claims Jan. 6 Rioters Killed Capitol

Police Officer Brian Sicknick, Washington Examiner (June 17, 2021), available at
https://www.yahoo.com/now/biden-claims-jan-6-rioters-161300824.html.
                                          19
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              Capitol and was injured while physically engaging with
              protesters. 38
These claims were widely circulated and did reputational damage to defendants

before the medical examiner quietly reported—more than four months later—that

Officer Sicknick died of two strokes, and that he sustained no internal or external

injuries from his exposure to chemical spray on January 6. 39


       The saturation of this charged and inflammatory reporting in the District is so

substantial that it would be surprising to identify any potential jurors who have not

been exposed to the coverage. One only need look to the Washington Post comments

section to observe the inflammatory attitudes of its readers who convict defendants

who are still pending trial. 40 And although some in the jury pool may not have heard

of Mr. Taranto specifically, his presence at the Capitol that day will necessarily cause

prospective jurors to link his conduct to the January 6 reporting generally. And as

the Court found in Rideau, “[a]ny subsequent court proceedings in a community so

pervasively exposed to such a spectacle could be but a hollow formality.” 373 U.S. at

726.


       Time has not healed the damage to the D.C. community – especially given the

ongoing political conflicts that seem to actually get worse with time. A more recent


38 Press Release: Loss of USCP Officer Brian Sicknick, United States Capitol Police

(Jan. 7, 2021) (emphasis added), https://www.uscp.gov/media-center/press-
releases/loss-uscp-colleague-brian-d-sicknick.
39 Capitol Police Officer Died of Natural Causes, Officials Say, Washington Post

(Apr. 19, 2021), https://www.washingtonpost.com/local/public-safety/brian-sicknick-
death-strokes/2021/04/19/36d2d310-617e-11eb-afbe-9a11a127d146_story.html.
40
  See Ralph Joseph Celentano III, accused Capitol rioter, charged with pushing officer over
ledge - The Washington Post

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jury survey completed on May 9, 2023, asked most of the same questions as the first

survey and was conducted by the same experts. Exhibit 2, Updated Jury Survey. The

results of this jury analysis confirm the above, that time has not abated the disdain

for January 6 defendants. Id. at 3. What is notable about the public awareness

captured in this survey is how most people surveyed know that most defendants

already prosecuted since 2021 have either pled guilty or been found guilty. Id. at 4.

This is significant because it shows that the passage of time has created an additional

harmful effect on the jury pool, and that is the public’s confirmation that these people

are and have been found guilty already. The amount of trial convictions and guilty

pleas since 2021 has not only confirmed the defendants’ guilt in potential jurors’

minds, it has substantially decreased the size of the jury pool because of how many

people have already been summoned for jury duty for these trials. Even the ones

surveyed who have not yet served on a January 6 jury predict they will vote guilty if

they were on a jury. Id.


      Finally, the inflammatory comments have invaded court proceedings. The

media has widely reported comments of U.S. District Court Judges in this District

regarding the events of January 6. For example, in comments that were widely

reported, a judge stated that “everyone participating in the mob contributed to [the

January 6] violence,” and went on to conclude that “[m]embers of a mob who breach

barriers and push back officers to disrupt the joint session of Congress are not




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trespassers, they are criminals.” 41 Other judges in the same district have also made

similar comments at sentencing:


       During a sentencing hearing for Kenneth Reda on Wednesday, a Senior U.S.
       District Judge said the psychology of the Donald Trump supporters who
       overran police and stormed the Capitol on Jan. 6 reminded him of “lynchings
       hundreds of years ago.” 42
       CNN also reported on statements of another U.S. District Judge:

       "It means that it will be harder today than it was seven months ago for
       the United States and our diplomats to convince other nations to
       pursue democracy. It means that it will be harder for all of us to
       convince our children and our grandchildren that democracy stands as
       the immutable foundation of this nation. It means that we are now all
       fearful about the next attack in a way that we never were." 43

       As noted in a CNN article, the chief judge of the federal court in
       Washington DC emphasized the local nature of the damage 44:
       We’re still living here in Washington, DC, with the consequences of the
       violence that this defendant is alleged to have participated in,” she said. “Just
       outside this courthouse… are visible reminders of the January 6 riot and
       assault on the Capitol.
       There is no doubt that more than only District residents were exposed to these

comments about every January 6 defendant who will go before a jury in this District.

In reality, the district court has been imposing sentences based on the individual

characteristics of the defendants, taking into account each defendant’s specific

conduct. However, it is important to note that these statements that have been hand



41https://www.politico.com/news/2021/10/28/almost-schizophrenic-judge-rips-doj-

approach-to-jan-6-prosecutions-517442; see also Fischer et al., supra note 16.
42
   https://lawandcrime.com/u-s-capitol-breach/federal-judge-compares-jan-6-riot-to-lynch-mob-
they-regret-it-afterwards-but-they-joined-in-it/
43
  https://lite.cnn.com/en/article/h_31b637faf602c63056995f01ea19baba
44
  https://www.cnn.com/2021/01/28/politics/capitol-beryl-howell-richard-barnett-
pelosi/index.html
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selected have been widely reported, nonetheless, do not include the sentencing

rationales that individualize each defendant but rather the statements reported are

only the sensational and inflammatory ones that have been taken completely out of

context when listening to the entirety of these hearings – which has also been unfair

to the district court judges. That is essentially the problem with most of the media

reporting – is that it mostly highlights the bad and conveniently leaves out the good,

or at a minimum the accurate full picture of what happened at each hearing.

Unfortunately, now, that means the jury pool has only heard and read the bad.


      C. The timing of the proceedings weighs in favor of finding a
         presumption of prejudice.
      Finally, in determining whether any prior prejudice has been mitigated by the

passage of time, the Supreme Court has considered the years between the exposure

of the offense conduct and the trial. For example, in Skilling, the Court found that

because more than four years had passed between the Enron scandal and the

defendant’s trial, “the decibel level of media attention diminished somewhat in the

years following Enron’s collapse,” and any exposure to the early reporting would have

become attenuated. Skilling, 561 U.S. at 383.


      Here, in the three years since January 6, 2021, media reporting about the

events of January 6 remains at an all-time high – especially with the recent focus on

the man who started it all – the prosecution against Donald Trump that is currently

pending in the same courthouse as the other January 6 defendants. The media

continues to report on Mr. Trump’s every word, including a recent comment said on

his election campaign where he said, “there will be a bloodbath for the country if he

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loses the election. 45” Now, the context of this comment appears to be referring to the

economy, however the vast reporting on this comment has implied he is speaking

about actual violence – similar to what occurred on January 6, 2021.


      Additionally, many documentaries that include extensive footage of the day

have been released—footage that would likely be offered into evidence by the

prosecution at trial. For example, HBO just released a feature-length Four Hours at

the Capitol in late October, which includes one of the most widely-circulated videos

from that day: the breaking of a Capitol window. 46 There is no reason to think that

coverage will wane before Mr. Taranto’s trial, especially given that he will be tried

immediately after the 2024 election.


      Based on all of these factors, interest in the events of January 6 has been high

since that day, and it has not waned in the District in the short time since. As such,

the timing of the proceedings weighs in favor of a finding of presumed prejudice.



                                  CONCLUSION

      Because each of the Skilling factors weighs in favor of finding a presumption

of prejudice, Mr. Taranto requests that the Court transfer the case to another district.



45John, Arit, Maher, Kit, Treene, Alayna, Trump warns of ‘blood bath for auto
industry and country if he loses the election, March 17, 2024, CNN, available at
https://www.cnn.com/2024/03/16/politics/trump-bloodbath-auto-industry-
election/index.html.
46 Four Hours at the Capitol, HBO (Oct. 4, 2021); see also Day of Rage: How Trump

Supporters Took the U.S. Capitol at 18:17-21, N.Y. Times (June 30, 2021),
https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-
supporters.html.
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                                   A.J. KRAMER
                                   FEDERAL PUBLIC DEFENDER


                                   ______/s/____________________
                                   SHELLI PETERSON
                                   COURTNEY MILLIAN
                                   ELIZABETH MULLIN

                                   Assistant Federal Public Defenders
                                   625 Indiana Avenue, N.W., Suite 550
                                   Washington, D.C. 20004
                                   (202) 208-7500




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